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NOT FOR PUBLICATION
                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY



    MICHAEL A. D’ANTONIO,                                     Civil Action No.: 1 6-cv-8 16

                            Plaintiff,
                                                                           ORDER
         V.


    BOROUGH OF ALLENDALE, et al.,

                            Defendants.

CECCHI, District Judge.

        This matter having come before the Court on Defendants’ motions to dismiss (ECF Nos. 173,

174, 176, 177, and 17$) the second amended complaint (the “SAC”) (ECF No. 167);’ and

        WHEREAS Plaintiff filed an initial prose complaint (the “Complaint”) (ECF No. 1) in this

matter alleging that Defendants acted in concert to deprive him of a property located at 316 East

Allendale Avenue, Allendale, New Jersey (the “Subject Property”) and asserting that Defendants

violated twenty-six state and federal laws. Id. at 11; and

        WHEREAS this Court dismissed the Complaint without prejudice on February 21, 2017,

finding that the Complaint included eleven possible federal causes of action but Plaintiff lacked

standing to pursue any of those claims. ECF No. 80 at 14-15; and

        WHEREAS Plaintiff lacked standing to pursue the claims in the Complaint because they were

premised upon ownership of the Subject Property and “the Complaint, attachments, and public record




1
  The Court refrains from reciting the lengthy and complicated facts of this case which are not
pertinent to this Order. This order is written primarily for the benefit of the parties who are assumed
to have familiarity with the background of this case. For a more detailed recitation of the events
underlying this suit please refer to the Court’s February 21, 2017 Opinion (ECF No. 80).
                                                    1
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alone are sufficient to demonstrate that [a corporation named] Calm, not Plaintiff, owned the Subject

Property during the relevant time period.” Id.; and

       WHEREAS Plaintiff filed an amendedpro se complaint on March 8, 2017 (ECF No. 84) but

subsequently requested and received leave to file his SAC following his retention of counsel. ECF

No. 164;2 and

       WHEREAS the SAC again contains allegations that Defendants improperly seized the Subject

Property from Plaintiff through foreclosure and adds allegations that Plaintiff was obstructed from

developing the Subject Property into affordable housing for buyers of African American, Native

American, and Latino descent. ECF No. 167; and

        WHEREAS the SAC asserts that these allegations give rise to claims under “42 U.S.C.           §
13601-3614, 42 U.S.C.A.     § 1983, 28 U.S.C. § 1331, [the] Equal Protection Clause of the Fourteenth
Amendment, [the] Due Process Clause of the Fourteenth Amendment, [and] Title VII of the Civil

Rights Act of 1964.” Id. at 1; and

        WHEREAS Plaintiff has offered no argument or evidence as to why he now has standing to

pursue any claims in connection with Subject Property and has not disputed the Court’s prior finding

that he did not own the Subject Property during the relevant time period;3 and

        WHEREAS a shareholder ordinarily lacks standing to assert claims on behalf of a corporation

and cannot recover for injuries suffered by the corporation or harm done to property owned by the

corporation. See Willekes v. Serengeti Trading Co., No. 17-3531, 2019 WL 3335554, at *2 (3d Cir.

July 25, 2019) (internal quotation marks and citations omitted) (“Prudential standing prohibits a

plaintiff from asserting the legal rights or interests of third parties; in shareholder suits, that


2
 Plaintiffs counsel withdrew from this case after the SAC was filed and Plaintiff is presently
proceeding pro Se.
 Plaintiffs omnibus brief in opposition to the motions to dismiss even admits the “Calm
Corporation” owned the Subject Property. ECF No. 189 at 14 (emphasis added) (“[P]laintiff was a
developer who sought to build affordable housing on the property owned by Calm Realty.”).
                                                      2
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prohibition precludes shareholders from initiating actions to enforce the rights of the corporation.

Thus, a shareholder (even a shareholder in a closely-held corporation) may not sue for personal

injuries that result directly from injuries to the corporation.”); and

        WHEREAS because all of Plaintiffs claims in the SAC stem from interference with the

development of the Subject Property (ECF No. 167 ¶ 16) or eviction and foreclosure proceedings in

connection with the Subject Property (Id.   ¶J   42, 43, 45, 52, 54), Plaintiffs claims must all be

dismissed for lack of standing. See ECF No. 80 at 15 (Plaintiff “lacks standing to bring claims based

on injuries to Calm, its interests, or its property.”); see also Constitution Party ofPa. v. Aichele, 757

F.3d 347, 360 (3d Cir. 2014) (citing Davis v. FEC, 554, U.S. 724, 734 (2008) (“The standing inquiry

focuses on whether the party invoking jurisdiction has the requisite stake in the outcome when the

suit was filed.”).

        Accordingly, IT IS on this   3    day of March 2020:

        ORDERED that Defendants’ motions to dismiss (ECF Nos. 173, 174, 176, 177 and 178) are

GRANTED; and it is further

        ORDERED that the SAC is dismissed without prejudice; and it is further

        ORDERED that Plaintiff may file an amended complaint (to be titled the “Third Amended

Complaint”) that specifically alleges why Plaintiff has standing to bring claims related to the Subject

Property if he was not the owner of the Subject Property;4 and it is further

        ORDERED that the Clerk of the Court shall close this case.

SO ORDERED.


                                                               Claire C. Cecchi, U.S.D.J.




 Plaintiff may not incorporate his other filings by reference. All factual allegations and claims
should be included in the Third Amended Complaint.
                                                     3
